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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE

-------------------------------------- X
SECURITIES AND EXCHANGE                :
COMMISSION,
                                       :
                Plaintiff,
                                       :
      -against-                                        Civil Action No. 1:21-cv-00260-PB
                                       :
LBRY, INC.,
                                                   :
                   Defendant.
-------------------------------------- X

                 LBRY, INC.’S MEMORANDUM OF LAW IN SUPPORT
             OF ITS MOTION TO LIMIT THE COMMISSION’S REMEDIES

       Defendant LBRY, Inc. (“LBRY”) respectfully submits this Memorandum of Law in

support of its Motion to Limit the Remedies to which the Securities and Exchange Commission

(the “Commission”) is entitled. Through this action, the Commission seeks the imposition of the

following remedies: a permanent injunction, disgorgement and a civil monetary penalty.

Compl. at Prayer for Relief. Under the facts and circumstances of this case - which do not

involve any allegations of fraud and relate solely to violations of the registration requirement

under Section 5 of the Securities Act of 1933 (the “Securities Act”) - such remedies are

unwarranted and inappropriate.

       First, the issuance of a permanent injunction in this case requires a finding that LBRY is

“reasonably likely” to violate Section 5 of the Securities Act in the future. As an initial matter,

given this Court’s holding on summary judgment and LBRY’s current financial situation, LBRY

intends to dissolve as soon as possible. See Declaration of Jeremy Kauffman (“Kauffman

Decl.”) ¶ 1. It would thus be impossible for LBRY - as a non-existent entity - to commit any

future violations of Section 5 of the Securities Act. Moreover, as the CEO of LBRY, Jeremy


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Kauffman, acknowledged at the November 21, 2022 status conference (“November 21

Conference”), and as he attests to in his attached declaration, LBRY is willing to completely

divest itself of all of the remaining LBRY Credits (“LBC”) in its custody (approximately 119.5

million). Kauffman Decl. ¶ 3. Accordingly, once LBRY “burns” its remaining LBC tokens or,

in the alternative, donates them to a third-party charitable entity with no affiliation to LBRY,

there is absolutely no risk that LBRY will violate Section 5 in the future, as it will no longer be

in possession of any LBC to sell. More importantly, once LBRY has divested itself of its

remaining pre-mined tokens, secondary token holders will no longer have any reasonable

expectation of profit based on the entrepreneurial or managerial efforts of LBRY. That is,

because LBRY will no longer hold any pre-mined tokens - thereby severing its “financial fate

[from] the commercial success of LBC” (Memorandum and Order (“Order”) at 17) - any LBC

tokens in the secondary market that holders are using for consumptive purposes would not

constitute a security.

        Second, with respect to disgorgement, the Supreme Court clearly established in Liu v.

S.E.C., 140 S. Ct. 1936 (2020), that the total amount of disgorgement cannot exceed “a

wrongdoer’s net unlawful profits” and, accordingly, “courts must deduct legitimate expenses

before ordering disgorgement.” Id. at 1943, 1950. As the Commission alleged in its Complaint,

and as further demonstrated in the attached declaration of Mr. Kauffman, all of the assets LBRY

received from its sales of LBC were used “to fund its business operations.” Compl. ¶ 27;

Kauffman Decl. ¶ 4. Notwithstanding the Commission’s prior admissions, see Compl. ¶¶ 6, 16-

17, 27; Commission’s Summary Judgment Motion (ECF 55-1) at 3, 12-13, the SEC now appears

to suggest - in contravention of Liu - that LBRY incurred no legitimate business expenses.




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         Finally, given that LBRY did not engage in fraud or deceptive conduct, and given that its

Section 5 violation occurred during a time of great uncertainty concerning the regulatory

landscape governing digital assets, only a nominal civil monetary penalty is warranted in this

case.

         For the reasons set forth below, LBRY respectfully requests that the Court issue an Order

denying the Commission’s request for a permanent injunction; denying the Commission’s

request for disgorgement; and imposing a first-tier civil monetary penalty of no more than

$50,000 against the company.

                                         BACKGROUND

         As the Court is aware, the Commission filed its Complaint on March 29, 2021, alleging

that LBRY failed to register its offer and sale of digital tokens, LBC, in violation of Section 5 of

the Securities Act. The Commission requested in its Prayer for Relief that the Court “[e]nter a

permanent injunction” against LBRY; “[o]rder [LBRY] to disgorge its ill-gotten gains”; and

“[o]rder [LBRY] to pay appropriate civil penalties in accordance with Section 20(d) of the

Securities Act.” Compl. at Prayer for Relief. LBRY and the Commission filed cross-motions for

summary judgment on May 4, 2022 addressing the sole issue of liability: i.e., whether LBRY

was required to register the LBC that it offered and sold as a security under Section 5 of the

Securities Act. On November 7, 2022, the Court granted the Commission’s Motion for

Summary Judgment, denied LBRY’s Motion for Summary Judgment, and held that, “by

retaining hundreds of millions of LBC for itself, LBRY . . . signaled that it was motivated to

work tirelessly to improve the value of its blockchain for itself and any LBC purchasers.” Order

at 16.

         Following the November 21 Conference, during which the Court urged the Commission

to work with LBRY to resolve this litigation, including by providing clarity to secondary LBC

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holders (noting LBRY’s offer to divest itself of its remaining LBC), LBRY provided the

Commission with a settlement proposal consistent with the framework laid out by the Court. As

the parties were unable to reach an agreeable resolution, however, LBRY is left with no choice

but to file the instant Motion seeking an Order limiting the remedies to which the Commission is

entitled in this case.

                                           ARGUMENT

  I.    THE COMMISSION IS NOT ENTITLED TO A PERMANENT INJUNCTION
        UNDER THE FACTS AND CIRCUMSTANCES OF THIS CASE

             a. Legal Standard

        A permanent injunction is appropriate only “where a defendant has violated the securities

laws and the SEC demonstrates a reasonable likelihood that the defendant will do so again in the

future.” S.E.C. v. Smith, No. 14-cv-192, 2015 WL 4067095, at *9 (D.N.H. July 2, 2015); see

also S.E.C. v. Sargent, 329 F.3d 34, 39 (1st Cir. 2003) (describing the legal standard for issuance

of an injunction as “reasonable likelihood of recidivism”). While federal courts are “vested with

wide discretion when an injunction is sought to prevent future violations of the statutory

securities laws,” Smith, 2015 WL 4067095, at *9, courts have also noted that a permanent

injunction is a “drastic remedy” that “should not be granted lightly, especially when the conduct

has ceased,” S.E.C. v. Boey, No. 07-cv-39, 2013 WL 3805127, at *3 (D.N.H. July 22, 2013)

(citing S.E.C. v. Steadman, 967 F.2d 636, 648 (D.C. Cir. 1992)). For that reason, the

Commission “carries a heavy burden to justify its imposition,” and must “go beyond the mere

facts of past violations and demonstrate a realistic likelihood of recurrence.” Id. (citing S.E.C. v.

Commonwealth Chem. Sec., Inc., 574, F.2d 90, 99-100 (2d Cir. 1978)).

        Whether the Commission has satisfied its burden of demonstrating a reasonable

likelihood of future violations is “typically assessed by looking at several factors, none of which


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is determinative.” Sargent, 329 F.3d at 39 (citing S.E.C. v. Youmans, 729 F.2d 413, 415 (6th Cir.

1984)). Courts consider, among other things, “the nature of the violation, including its

egregiousness and its isolated or repeated nature” and “whether the defendants will, owing to

their occupation, be in a position to violate again,” id., as well as the “sincerity of the defendant’s

assurances against future violations” and “the degree of scienter,” Smith, 2015 WL 4067095, at

*9.

       The facts in this matter are markedly distinct from the Smith case. In Smith, an

enforcement action involving an investment fraud scheme, this Court issued a permanent

injunction where the defendant “contributed to the scheme with extreme recklessness as both an

attorney and a paymaster”; his “participation in the scheme extended over multiple years and

helped to persuade at least four investors to contribute, and lose, over $2 million to the fraud”;

and he “offered no assurance that he will not commit further violations of the securities laws”

and rather “expressed his intention to continue seeking work as a paymaster in the future.” Id. at

*10; see also S.E.C. v. Esposito, 260 F. Supp. 3d 79, 94 (D. Mass. 2017) (holding that a

permanent injunction was warranted where the Commission alleged that defendant engaged in

“an elaborate and deliberate scheme to defraud investors”); S.E.C. v. Tropikgadget FZE, 146 F.

Supp. 3d 270, 283 (D. Mass. 2015) (issuing a permanent injunction where the Commission

alleged that defendant engaged in “an elaborate, deliberate, and prolonged scheme to defraud

thousands of investors”); S.E.C. v. Wall, No. 19-cv-00139, 2020 WL 1539919, at *8-9 (D. Me.

Mar. 31, 2020) (holding that a permanent injunction was warranted where “defendants’

violations were part of a pattern lasting more than four years and harming approximately 90

investors,” “the conduct was flagrant and deliberate, involving blatant misrepresentations

concerning the safety . . . of the investment and glaring omissions to report the risks,” and



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defendants “cast a wide net in trolling for potential investors, indiscriminately inviting anyone . .

. to fall victim to their fraudulent scheme”).

       By contrast, courts have denied the Commission’s request for a permanent injunction

where the defendant is unlikely to commit future violations, including where the defendant entity

is insolvent and non-operational, and where the defendant has accepted the finding of liability

against it without further appeal. See, e.g., S.E.C. v. John Adams Trust Corp., 697 F. Supp. 573,

577 (D. Mass. 1988) (“To suggest that [defendant] itself, now an insolvent corporation without

employees or facilities, may rise phoenix-like from the ashes to do further harm to non-existent

clients or an unsuspecting public is more akin to distant prophecy than to the requisite showing

of a realistic likelihood or a real probability of violations.”) (internal quotations omitted);

Sargent, 329 F.3d at 39-40 (affirming lower court’s denial of injunction where defendant’s

current position did “not put him in a position where future violations are likely” and defendant’s

“acceptance of the jury verdict without further appeal is sufficient acknowledgment of the

wrongfulness of his conduct”); Boey, 2013 WL 3805127, at *3 (holding that a permanent

injunction was not warranted where the Commission “has not shown any realistic likelihood that

[defendant] will commit similar violations in the future”); cf. S.E.C. v. Ingoldsby, No. 88-cv-

1001, 1990 WL 120731, at *3 (D. Mass. May 15, 1990) (“Absent a showing of bad faith, the

defendant should not be prejudiced for presenting a vigorous defense and requiring the SEC to

meet its proper evidentiary burden both at trial and at the injunctive relief stage of the judicial

proceedings.”).

            b. As LBRY Intends to Divest Itself of All its Remaining Tokens and Dissolve
               the Corporate Entity, There is Absolutely no Likelihood of Future
               Violations, and a Permanent Injunction is Not Warranted

       Here, after LBRY divests itself of all remaining LBCs in its custody and dissolves its

corporate entity, there is absolutely no likelihood - let alone a reasonable likelihood - that LBRY

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will commit future violations of Section 5 of the Securities Act. First and foremost, due to the

Court’s recent ruling on summary judgment and its financial situation, LBRY plans to dissolve

as soon as possible. Kauffman Decl. ¶ 1. With respect to its current financial situation,

moreover, LBRY has far more debt than it has assets - with assets of approximately $1.8 million

($200,000 of cash and a note receivable of $1.6 million) and liabilities of approximately $3.5

million. Id. ¶ 2. LBRY’s current balance sheet, attached as Exhibit 1 to Mr. Kauffman’s

declaration, makes plain that the company is on its last leg. Kauffman Decl., Ex. 1 (LBRY

Balance Sheet). In other words, it is entirely inconceivable that a soon-to-be non-existent LBRY

will “rise phoenix-like from the ashes to do further harm to non-existent clients or an

unsuspecting public,” rendering a permanent injunction plainly unnecessary and unwarranted

under the facts and circumstances of this case. John Adams Trust, 697 F. Supp. at 577.

       LBRY currently has in its custody approximately 119.5 million remaining LBC.

Kauffman Decl. ¶ 3. As indicated both by Mr. Kauffman at the November 21 Conference, and

as attested to in his attached declaration, LBRY is willing to divest itself of all its remaining

tokens - either by “burning” them or by donating them to an unaffiliated non-profit organization

controlled by individuals with no affiliation with or association to LBRY. Id. Accordingly,

without any remaining pre-mined LBC in its possession, LBRY cannot possibly commit any

further violations of the Securities Act through the sale or offering of those tokens. More

importantly, once LBRY divests itself of its remaining pre-mined LBCs and dissolves as a

corporate entity, any secondary LBC in circulation would not be deemed to be securities because

holders of LBC will no longer have “a reasonable expectation of profits to be derived from the

entrepreneurial or managerial efforts of others” given that LBRY’s interests and the interests of




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the secondary holders will no longer be “aligned.” 1 Order at 8, 17 (citing United Hous. Found.

v. Forman, 421 U.S. 837, 852 (1975)).

          Turning to the other factors considered by courts in the assessment of whether there is a

“reasonable likelihood of recidivism,” the facts in this litigation weigh heavily against the

imposition of a permanent injunction. First, LBRY’s conduct was far from egregious. Unlike

other cases within this Circuit where permanent injunctions were issued - involving, among other

things, deliberate or reckless years-long schemes to defraud investors - LBRY was found to have

engaged in the offer and sale of unregistered tokens at a time when the laws governing the

registration of crypto assets were less than clear and the Commission’s guidance on this topic

was even more ambiguous than it is today. Mr. Kauffman and other LBRY employees did not

act with scienter in their creation and development of the LBRY blockchain and the pre-mine of

LBC, and neither the Commission’s pleadings nor the Court’s Order contain even a suggestion

of fraudulent intent on behalf of LBRY or its personnel.

    II.   AS THE COMMISSION HAS ADMITTED, THE FUNDS LBRY RAISED FROM
          ITS SALES OF LBC WERE USED FOR LEGITIMATE BUSINESS EXPENSES,
          AND DISGORGEMENT IS THEREFORE AN INAPPROPRIATE REMEDY

              a. Legal Standard

          Disgorgement, an equitable remedy, “prevents a defendant from profiting from his

securities violations” and “is intended to deprive wrongdoers of profits they illegally obtained by




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  As the Commission itself has acknowledged, digital assets can morph from securities to non-securities. Indeed, as
William Hinman, the former Director of the Division of Corporation Finance of the Commission, recognized, “the
analysis of whether something is a security is not static and does not strictly inhere to the instrument” and,
accordingly, an instrument that may have constituted an investment contract at one time “may no longer represent a
security offering” if circumstances surrounding the digital asset, the network on which it functions or the sale itself
change. William Hinman, Dir. Sec. Exch. Comm’n Div. Corp. Fin., Digital Asset Transactions: When Howey Met
Gary (Plastic) (June 14, 2018), available at https://www.sec.gov/news/speech/speech-hinman-061418. LBRY has
repeatedly attempted to obtain clarity on the status of LBC held by secondary holders that use LBC for consumption
on the LBRY blockchain. This was once again raised during the November 21 Conference. Despite many attempts,
the Commission has refused to provide clarity and has decided to regulate through enforcement and sanctions.

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violating the securities laws.” Sargent, 329 F.3d at 40; see also Boey, 2013 WL 3805127, at *1

(holding that disgorgement “does not serve to punish or fine the wrongdoer, but simply serves to

prevent [his] unjust enrichment”). Courts have “broad discretion not only in determining

whether or not to order disgorgement but also in calculating the amount to be disgorged.” S.E.C.

v. Druffner, 802 F. Supp. 2d 293, 297 (D. Mass. 2011) (quoting S.E.C. v. First Jersey Sec., Inc.,

101 F.3d 1450, 1474-75 (2d Cir. 1996)). Disgorgement should equate to “a reasonable

approximation of profits causally connected to the violation.” S.E.C. v. Happ, 392 F.3d 12, 31

(1st Cir. 2004); see also Smith, 2015 WL 5138085, at *1 (“[T]he measure for disgorgement is

broadly the amount by which [the defendant] was unjustly enriched by the fraudulent scheme.”)

(internal quotations omitted).

       The Supreme Court has recently made clear that, to avoid transforming the equitable

remedy of disgorgement into a punitive sanction, the amount of disgorgement to be awarded to

victims cannot exceed “a wrongdoer’s net unlawful profits.” Liu, 140 S. Ct. at 1942-43. To that

end, the Supreme Court held that “courts must deduct legitimate expenses before ordering

disgorgement.” Id. at 1950; see also S.E.C. v. Navellier & Assocs. (“Navellier”), No. 17-cv-

11633, 2021 WL 5072975, at *4 (D. Mass. Sept. 21, 2021) (quoting Liu and explaining that

disgorgement is calculated by “deducting legitimate expenses” from “net profits from

wrongdoing”). While the Supreme Court left open the question of what constitutes a “legitimate

expense,” it explained that “the cost and expense of conducting [a] business” and the “marginal

costs incurred in producing the revenues that are subject to disgorgement” should be deducted

from any calculation. Liu, 140 S. Ct. at 1950. It further added that payments “toward lease

payments and . . . equipment [used in pursuit of a legitimate business purpose] . . . arguably have

value independent of fueling a fraudulent scheme.” Id. at 1950; see also Navellier, 2021 WL



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5072975, at *5-6 (stating that expenses related to defendant’s legitimate investment advisory

business, including research expenses and the portion of salaries associated with servicing client

accounts, may be deducted, but holding that expenses in pursuit of defendant’s fraud should not).

            b. As Courts Must Deduct Legitimate Expenses Before Ordering
               Disgorgement, and LBRY Used All Funds Raised Through its Sales of LBC
               to Operate its Business, Disgorgement is Not Warranted

       Liu and its progeny require that a defendant’s legitimate business expenses be deducted

from its net profits in calculating the appropriate amount of disgorgement. Pursuant to the

Commission’s unambiguous admissions contained in its pleadings - that the assets raised by

LBRY in connection with its sales of LBC were used to “fund its business operations” and “pay

for the operational costs to grow the LBRY network,” Compl. ¶¶ 6, 27 - any disgorgement award

would exceed LBRY’s net unlawful profits and thus violate Liu. As outlined in the attached

declaration of Mr. Kauffman, LBRY used all of the funds that it raised through its sales of LBC

for the purpose of running and operating its business - including, inter alia, for payroll; payment

of independent contractors; legal and compliance fees; and information and technology expenses.

Kauffman Decl. ¶ 4; id. at Ex. 2 (LBRY’s Profit & Loss Statement). Notwithstanding the

Commission’s allegations in the Complaint that LBRY used the funds it raised to “develop its

network,” Compl. ¶ 17 - a position that it, notably, reasserted in its summary judgment briefing

after discovery in the case had closed (see Commission’s Summary Judgment Motion (ECF 55-

1) at 3, 12-13) - it nevertheless now suggests that those legitimate business expenses should not

be deducted from a disgorgement award. The Commission’s attempt to reverse course at this

late stage in the litigation, however, should be rejected.

       Moreover, as the Commission itself concedes, LBRY is not alleged to have engaged in

any fraudulent conduct and the sole violation at issue in this case is one for failing to register

LBRY’s digital asset as a security. Given that no fraud is alleged and given that all of LBRY’s

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assets went toward the operation of its legitimate business activities, there can be no argument

that any such expenses went toward “fueling a fraudulent scheme” and should thus not be

deducted from a disgorgement calculation. Liu, 140 S. Ct. at 1950; see also S.E.C. v.

MacDonald, 699 F.2d 47, 54 (1st Cir. 1983) (en banc) (“The court’s power to order

disgorgement extends only to the amount with interest by which the defendant profited from his

wrongdoing.”).

  III. A NOMINAL FIRST-TIER CIVIL PENALTY IS APPROPRIATE UNDER THE
       CIRCUMSTANCES

             a. Legal Standard

        Section 20(d)(2) of the Securities Act of 1933 authorizes courts to impose civil monetary

penalties against those who violate securities laws. 15 U.S.C. § 77t(d)(2). Such civil penalties

are intended to “penalize [the] defendant for . . . illegal conduct.” Sargent, 329 F.3d at 41; see

also Boey, 2013 WL 3805127, at *2 (stating that civil penalties are “intended to punish and deter

securities law violations”) (internal quotations omitted). Section 20(d)(2) provides three “tiers”

of penalties that the court has the discretion to impose, with each tier prescribing increasing fines

based on the severity of a defendant’s conduct. 15 U.S.C. § 77t(d)(2). Within each of the three

tiers, a penalty “shall not exceed the greater of” a set amount per violation: in the case of a

corporate entity, $50,000 for a first-tier violation; $250,000 for a second-tier violation; and

$500,000 for a third-tier violation. Id.; see also S.E.C. v. Smith, No. 14-cv-192, 2015 WL

5793999, at *1 (D.N.H. Oct. 1, 2015). Tier I penalties are available for all violations and the

amount of the penalty “shall be determined by the court in light of the facts and circumstances.”

15 U.S.C. § 77t(d)(2). Meanwhile, “Tier II penalties require fraud, deceit, manipulation, or a

deliberate or reckless disregard of a regulatory requirement, and Tier III penalties require the

Tier II elements plus substantial losses or . . . significant risk of substantial losses to other


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persons.” S.E.C. v. Gomes, No. 20-cv-11092, 2022 WL 11804022, at *2 (D. Mass. Oct. 20,

2022) (citing S.E.C. v. Kern, 425, F.3d 143, 153 (2d Cir. 2005)).

       While the statutory tiers set forth the maximum penalty that may be imposed, the “actual

amount of the penalty” is “left up to the discretion of the district court,” based on the particular

facts of each case. S.E.C. v. Kern, 425 F.3d 143, 153 (2d Cir. 2005); see also Smith, 2015 WL

5793999, at *3 (describing a court’s “considerable discretion in this area”). As the statute does

not define “violation,” courts have employed various methodologies for determining the number

of violations at issue for purposes of calculating the appropriate penalty. Among other

methodologies, courts have imposed a penalty for each statute the defendant is found to have

violated, see, e.g., S.E.C. v. Premier Links, Inc., No. 14-cv-7375, 2022 WL 5422661, at *6-7

(E.D.N.Y. July 27, 2022) (multiplying the third-tier $150,000 penalty by four to reflect

defendant’s violation of four different securities laws), and have also imposed a single penalty in

cases in which the securities violations at issue arose out of a single scheme, see, e.g., S.E.C. v.

Interinvest Corp., Inc., No. 15-12350, 2016 WL 8711689, at *1 (D. Mass. Dec. 23, 2016)

(imposing a single penalty where defendant “carr[ied] out a single scheme”). Courts may also

look to the number of violative transactions or the number of investors to whom illegal conduct

was directed. See In re Reserve Fund Secs. & Derivative Litig., No. 09-cv-4346, 2013 WL

5432334, at *20 (S.D.N.Y. Sept. 30, 2013).

       In determining the appropriate level of penalty, courts have considered numerous factors,

including, “(1) the egregiousness of the violation, (2) the defendant’s scienter, (3) the repeated

nature of the violation, (4) defendant’s admission of wrongdoing and cooperation with

authorities, and (5) the defendant’s financial situation.” Smith, 2015 WL 5793999, at *1.

Compare S.E.C. v. Druffner, 802 F. Supp. 2d 293, 298-99 (D. Mass. 2011) (denying the



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Commission’s request for civil penalties where defendant was “unemployed” and did not have

the ability to pay civil penalties), and S.E.C. v. Spencer Pharm. Inc., No. 12-cv-12334, 2015 WL

5749436, at *7-8 (D. Mass. Sept. 30, 2015) (declining to impose the maximum third-tier civil

penalty of $725,000 for a non-natural person, and instead imposing a $150,000 fine per entity,

where the entities “are effectively defunct and without any significant corporate assets”), with

S.E.C. v. Locke Cap. Management, Inc., 794 F. Supp. 2d 355, 370-371 (D.R.I. 2011) (imposing

the maximum penalty where defendant’s conduct evinces “conscious intent to defraud” and

where it “spanned a number of years and reflects a great effort to piece together a fraud scheme,

cover it up, and then continue to lie about it throughout this litigation”), and S.E.C. v. Knox, No.

18-cv-12058, 2022 WL 1912877, at *3 (D. Mass. June 3, 3022) (imposing the maximum third-

tier civil penalty where defendants’ “conduct consisted of deceit and manipulation” and their

violations were “deliberate, egregious, and long-lasting”), and Esposito, 260 F. Supp. 3d at 93

(imposing the maximum third-tier civil penalty where defendant was “instrumental in an illicit

scheme to evade the securities laws’ registration requirements,” “acted with scienter in

misappropriating investor funds,” and “caused investors to suffer substantial losses”).

            b. A Nominal, First-Tier Penalty Is All That is Warranted Under the
               Circumstances

       Here, the Court should impose a single, first-tier penalty of $50,000 against LBRY. As

an initial matter, it is undisputed that LBRY has not engaged in “fraud, deceit, manipulation, or

deliberate or reckless disregard of a regulatory requirement,” and its conduct thus does not

necessitate the imposition of a Tier II or III penalty. 15 U.S.C. § 77t(d)(2). This leaves the

Court to determine - within its sole discretion, and based on the factors set forth herein - the

appropriate civil penalty under Tier I.




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       Application of the factors courts consider in determining the appropriate level of penalty

to impose weigh heavily in favor of the imposition of only a modest penalty in this case. First,

LBRY’s conduct was not egregious and it did not act with scienter. Indeed, as this Court

recognized at the November 21 Conference, LBRY entered the cryptocurrency market during a

time of great uncertainty as to the regulatory requirements governing digital assets and the

application of Section 5 to those assets, particularly ones - like LBC - with consumptive uses. In

fact, noting that LBRY did not act with fraudulent intent, the Court encouraged the Commission

to attempt to fashion a resolution with LBRY that would give the market the clarity it so

desperately seeks. Furthermore, the last sale of LBC occurred nearly two years ago - in or

around February 2021 - and before the Commission filed its Complaint in this litigation. This

shows LBRY’s intent to await guidance from the Commission and the Court before engaging in

further sales. Moreover, LBRY has accepted the decision of the Court and does not intend to

appeal the Court’s ruling on summary judgment. Finally, LBRY’s financial situation, as

described herein, is dire. As the financial information appended to Mr. Kauffman’s declaration

makes clear, LBRY is unable to pay millions of dollars, or even hundreds of thousands of

dollars, in civil penalties. Kauffman Decl., Ex. 1 (LBRY Balance Sheet).

       Accordingly, in light of these factors, the court should impose a single penalty of $50,000

based on LBRY’s violation of a single statute. A civil penalty based on, for example, the

number of transactions at issue or investors impacted would result in an exceedingly excessive

penalty, which is not warranted under the facts and circumstances of this case.




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                                       CONCLUSION

       For the foregoing reasons, Defendant LBRY respectfully requests that this Court deny the

Commission’s request for a permanent injunction and disgorgement and impose a modest first-tier

civil penalty against LBRY.


Dated: December 7, 2022                        Respectfully submitted,

                                               LBRY, INC.

                                               /s/ Timothy J. McLaughlin (NH Bar # 19570)
                                               William E. Christie
                                               Timothy J. McLaughlin
                                               Shaheen & Gordon, P.A.
                                               107 Storrs Street
                                               P.O. Box 2703
                                               Concord, NH 03302
                                               (603) 819-4231
                                               wchristie@shaheengordon.com
                                               tmclaughlin@shaheengordon.com


                                               /s/ Keith W. Miller
                                               Keith W. Miller (pro hac vice)
                                               Rachel S. Mechanic (pro hac vice)
                                               Emily C. C. Drinkwater (pro hac vice)
                                               Perkins Coie LLP
                                               1155 Avenue of the Americas, 22nd Floor
                                               New York, New York 10036-2711
                                               (212) 262-6900
                                               KeithMiller@perkinscoie.com
                                               Rmechanic@perkinscoie.com
                                               Edrinkwater@perkinscoie.com




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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing (NEF).

Dated: December 7, 2022                           /s/ Keith W. Miller
                                                  Keith W. Miller




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